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IN THE UNITED STATES DISTRICT COURT

DISTRICT OF UTAH, CENTRAL DIVISION

 

 

 

UNITED STATES OF AMERICA,
INDICTMENT
Plaintiff,
Vs. VIOLATION:
18 U.S.C. § 2422(b), COERCION AND
STONEY WESTMORELAND, ENTICEMENT (Count 1).
Defendant. Case: 2:19-cr-00014
Assigned To : Parrish, Jill
Assign. Date : 4/19/2019
‘Description: USA V.
The Grand Jury Charges:

COUNT 1
Coercion and Enticement
(18 U.S.C. § 2422(b))

On or about December 13, 2018, in the Central Division of the District of

Utah,
STONEY WESTMORELAND,

the defendant herein, did knowingly and intentionally, by means of a facility of interstate
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commerce, persuade, induce, entice, and coerce any individual who had not attained the

age of 18 years, to engage in sexual activity for which a person can be charged with a

criminal offense, and attempted to so persuade, induce, entice, and coerce; and did aid

and abet; all in violation of 18 U.S.C. § 2422(b).

NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE
Pursuant to 18 U.S.C. § 2428, upon conviction of a violation of 18 U.S.C. §§

2422, 2423, or 2425 as alleged in Count 1 of this Indictment, the above-named defendant

shall forfeit to the United States (i) his interest in any property, real or personal, that was

used or intended to be used to commit or to facilitate the commission of such violation;

and (ii) any property, real or personal, constituting or derived from any proceeds that the

defendant obtained, directly or indirectly, as a result of such violation. The property to be

forfeited includes, but is not limited to, the following:

e MacBook Pro — Silver
@ 3 Thumb drives
e iPhone in blue case

If any of the property described above, as a result of any act or omission of the
defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
C. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or
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e, has been commingled with other property which cannot be divided
without difficulty,
the United States of America shall be entitled to forfeiture of substitute property pursuant

to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).

‘TRUE BILL:

 

FOREPERSON OF THE GRAND JURY

JOHN W. HUBER
United States Attorney

Kit LLL

KARIN M. FOJTIK. (_)
Assistant United States Attorney
